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                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF FLORIDA
                                       FORT LAUDERDALE DIVISION

                                Case No.: 0:19-cv-60205-DIMITROULEAS/Snow


   GINA BELLENGER, on behalf of
   herself and all others similarly situated,

                             Plaintiff,

   v.

   ACCOUNTS RECEIVABLE MANAGEMENT, INC.,

                       Defendant.
   ____________________________________________/

                  DECLARATION IN SUPPORT OF UNOPPOSED MOTION FOR
                   PRELIMINARY APPROVAL OF CLASS SETTLEMENT AND
                         CERTIFICATION OF SETTLEMENT CLASS

            Andrew J. Shamis declares as follows:

            1.      I am one of the attorneys designated as Class Counsel for Plaintiff under the

   Settlement Agreement and Release (“Settlement” or “Agreement”) entered into with Defendant. 1

   I submit this declaration in support of Plaintiff’s and Class Counsel’s Unopposed Motion for

   Preliminary Approval of Class Settlement and Certification of Settlement Class. Except as

   otherwise noted, I have personal knowledge of the facts set forth in this declaration, and could

   testify competently to them if called upon to do so.

            2.      The Parties’ proposed Settlement is exceedingly fair, and well within the range of

   preliminary approval for several reasons.

            3.      The Settlement was not conditioned on any amount of attorneys’ fees for Class

   Counsel or Service Award for Plaintiff, which speaks to the fundamental fairness of the process.



   1
       All capitalized defined terms used herein have the same meanings ascribed in the Agreement.

                                                    1
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          4.      The Claims Process here is straightforward, easy to understand for Settlement Class

   members, and designed so that they can easily claim to their portion of the Settlement Fund.

          5.      A preliminary review of the factors related to the fairness, adequacy and

   reasonableness of the Settlement demonstrates that it fits well within the range of reasonableness,

   such that Preliminary Approval is appropriate.

          6.      Plaintiff and Class Counsel believe that the claims asserted are meritorious and that

   Plaintiff would prevail if this matter proceeded to trial. Defendant argues that Plaintiff’s claims are

   unfounded, denies any liability, and has shown a willingness to litigate vigorously. Given

   Defendant’s limited resources and capability for contributing toward a settlement, which factored

   into the parties’ negotiations, the settlement is in the best interest of the Class Members.

          7.      The Parties concluded that the benefits of the Settlement outweigh the risks and

   uncertainties attendant to continued litigation that include, but are not limited to, the risks, time

   and expenses associated with completing trial and any appellate review.

          8.      The Settlement here is the result of extensive, arm’s-length negotiations between

   experienced attorneys who are familiar with class action litigation and with the legal and factual

   issues of this Action.

          9.      Class Counsel are particularly experienced in the litigation, certification, trial, and

   settlement of nationwide class action cases. See attached Firm Resumes.

          10.     Class Counsel zealously represented their client throughout the litigation, and

   throughout the discovery process, which included review of numerous pages of documents and

   electronic data.

          11.     Class Counsel conducted a thorough analysis of Plaintiff’s claims and engaged in

   extensive formal discovery with Defendant.



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          12.     Class Counsel are confident in the strength of Plaintiff’s case, but are also

   pragmatic in their awareness of the various defenses available to Defendant, and the risks inherent

   in trial and post-judgment appeal.

          13.     Class Counsel appropriately determined that the Settlement outweighs the risks of

   continued litigation.

          14.     There can be no doubt that this Settlement is a fair and reasonable recovery for the

   in light of Defendant’s defenses, the uncertainty of class certification, and the challenging and

   unpredictable path of litigation Plaintiff and all Settlement Class members would face absent a

   settlement.

          15.     The Settlement is the best vehicle for Settlement Class Members to receive the

   relief to which they are entitled in a prompt and efficient manner.

          16.     Class Counsel were extremely well-positioned to confidently evaluate the strengths

   and weaknesses of Plaintiff’s claims and prospects for success at trial and on appeal.

                                               *    *   *

          I declare under penalty of perjury of the laws of Florida and the United States that the

   foregoing is true and correct, and that this declaration was executed in Fort Lauderdale, Florida,

   on September 24, 2019.


                                                 /s/ Andrew J. Shamis
                                                    Andrew J. Shamis




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